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                                          UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF TEXAS
                                                 Beaumont Division
                                      THE HONORABLE JUDGE MARCIA A. CRONE

 DATE:   Thursday, December 12, 2019                                CASE NUMBER:                 1:17CR151-1
 LOCATION:        Beaumont – Courtroom 3                            CASE NAME:                   USA v. Ahmed
 COURTROOM DEPUTY:            Julia Colyer
 COURT REPORTER:          Chris Bickham                             DEFENDANT:           MOHAMED IBRAHIM AHMED
 INTERPRETER: Ranja Hijazeen & Ghada Atiech                         COUNSEL:                        Pro Se
 CALLED:                9:00 AM                                                        Advising Counsel: Geri Montalvo
 ADJOURNED:                5:34 PM                                  AUSA:                  Christopher Tortorice
 DURATION:           7 Hours 22 Minute                              DOJ:               Alicia Cook & Katie Sweeten

                                                     JURY TRIAL DAY 9

        This day comes the parties by their attorneys and the following proceedings are held before the Honorable Judge Marcia
A. Crone in Beaumont, Texas:

 Evidence presented:                    … Government                          … Defendant
      Government’s                      … Exhibit List                        … Witness List
      Defendant’s                       … Exhibit List                        … Witness List
 … Parties conclude all evidence        … Parties present final arguments
 … Court provides jury with Jury Instructions/Court Charge
 … Jury begins deliberations             Jury continues deliberations         Jury submits jury note(s)
 … Jury reaches a verdict:
 … Trial ends                            Court remands defendant into the custody of the US Marshals

ADDITIONAL PROCEEDINGS:
 9:00 AM   The jury returns and continues deliberations.
 11:08 AM Court receives jury note 9.
 10:21 AM Court is called. AUSA Christopher Tortorice is present on behalf of the government. Counsel Alicia Cook and
           Counsel Katie Sweeten are also present on behalf of the government. The defendant is present and in the custody
           of the US Marshals. Counsel Geri Montalvo is also present.
 11:38 AM The parties discuss the jury note. The parties determine giving a modified Alan charge to the jury would be
           appropriate. The charge is read to the defendant in Arabic.
 11:43 AM The jurors enter the courtroom. The Court addresses the jury. The Court reads the modified Alan charge. The
           juror is dismissed for lunch until 1:00 PM. (1 hour 17 minutes)
 4:47 PM   Court receives jury note 10.
 5:06 PM   Court is called. The parties discuss the jury note. The parties agree on a response.
 5:28 PM   Court receives jury note 10 again.
 5:33 PM   The parties discuss the jury note. The parties agree on a response.
 5:34 PM   Court adjourns.
